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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          8:04CR118
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
VERONICA PERALES,                           )
                                             )
                    Defendant.               )

      IT IS ORDERED that:

      (1)    The government’s request for hearing pursuant to Federal Rule of Criminal
Procedure 35(b) is granted.

       (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 195) has been set before the undersigned United States district judge at
1:00 p.m., Thursday, March 2, 2006, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   At the request of the defendant through her counsel, and with the agreement
of the government, the defendant may be absent from the hearing on the Rule 35 motion.

      (4)    The Marshal is directed not to return the defendant to the district.

      (5)    The defendant is held to have waived her right to be present.

      February 24, 2006.                 BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
